       Case 16-28149         Doc 60      Filed 01/03/22 Entered 01/03/22 16:04:11                    Desc Main
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                                       United States Bankruptcy Court
                                    Northern District of Illinois, Eastern Division

IN RE: Becki L Klebs                                      )             Chapter 13
                                                          )             Case No. 16 B 28149
        Debtor(s)                                         )             Judge David D. Cleary

                                                 Notice of Motion

    Becki L Klebs                                                       Debtor Attorney: Sulaiman Law Group Ltd
    17834 Arcadia St                                                    via Clerk's ECF noticing procedures
    Lansing, IL 60438




On January 10, 2022 at 1:00 pm, I will appear before the Honorable David D. Cleary, or any judge sitting in that
judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the following:

   To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and password.
   To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter the
meeting ID and password.
   Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the password is Cleary644.
The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Monday, January 3, 2022.




                                                                        /s/ MARILYN O. MARSHALL
                                                                        MARILYN O. MARSHALL, TRUSTEE
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IN RE: Becki L Klebs                                          )              Chapter 13
                                                              )              Case No. 16 B 28149
         Debtor(s)                                            )              Judge David D. Cleary

                          Motion to Dismiss Case for Failure to Make Plan Payments

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed , pursuant to 11 U.S.C. §1307 [c]
[6], stating:

On August 31, 2016, the debtor filed a petition under Chapter 13 of the Bankruptcy Code which was confirmed by the Court on
April 24, 2017, for a term of 60 months with payments of $1 ,335.00.

The status of the debtor's plan is:   Current Month         Cash Due          Cash Received       Payment Default
                                            65              $84,450.00         $79,320.00            $5,130.00

A summary of the 12 most recent receipt items is set forth below:            Report Date: 01/03/2022
                                                                             Due Each Month: $1,335.00
                                                                             Next Pymt Due: 01/30/2022

    Date           Ref Num            Amount                            Date          Ref Num          Amount
08/31/2020          101034294         $1,335.00                     09/28/2020         101036956       $1,335.00
10/30/2020          101058223         $1,335.00                     11/30/2020         101058268       $1,335.00
01/05/2021          101075508         $1,335.00                     01/25/2021         101075571       $1,335.00
02/25/2021          101075623         $1,335.00                     03/30/2021         101100708       $1,335.00
04/27/2021          101100775         $1,335.00                     05/28/2021         101105850       $1,335.00
06/28/2021          101121929         $2,670.00                     06/28/2021         101121926       $1,335.00

WHEREFORE, the Trustee prays that this case be dismissed , and for any and all other relief this court deems just and proper .

Office of the Chapter 13 Trustee                                             /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                           MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312)431-1300
